

Matter of Garnett (2018 NY Slip Op 02876)





Matter of Garnett


2018 NY Slip Op 02876


Decided on April 26, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 26, 2018


[*1]In the Matter of PRYOR ANDREW GARNETT, an Attorney. 
(Attorney Registration No. 2688133)

Calendar Date: April 23, 2018

Before: Egan Jr., J.P., Lynch, Mulvey, Rumsey and Pritzker, JJ.


Pryor Andrew Garnett, Portland, Oregon, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Pryor Andrew Garnett was admitted to practice by this Court in 1995 and lists a business address in Portland, Oregon with the Office of Court Administration. Garnett has applied to this Court, by affidavit sworn to February 27, 2018, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Garnett is ineligible for nondisciplinary resignation because he has failed to fulfill his attorney registration requirements for the most recent biennial period beginning in 2017 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, Garnett has
submitted a supplemental affidavit, sworn to April 18, 2018, in which he attests that he is now current in his New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that Garnett has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to his application, and having determined that Garnett is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept his resignation.
Egan Jr., J.P., Lynch, Mulvey, Rumsey and Pritzker, JJ., concur.
ORDERED that Pryor Andrew Garnett's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Pryor Andrew Garnett's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Pryor Andrew Garnett is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Garnett is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Pryor Andrew Garnett shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








